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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:24-cv-20805-KMM

  YA MON EXPEDITIONS, LLC,
  a limited liability corporation,
  on behalf of itself and all others similarly situated,

          Plaintiff,
  v.

  INTERNATIONAL YACHT BROKER’S
  ASSOCIATION, INC.,

          Defendants.
                                                    /

                                ORDER CONSOLIDATING CASES

          THIS CAUSE came before the Court upon Plaintiff’s Motion to Consolidate Related

  Actions and for Appointment of Interim Co-Lead Class Counsel. (“Mot.”) (ECF No. 20). The

  Motion to Consolidate is largely unopposed. 1 Id. at 14. This Order addresses only the Motion to

  Consolidate; the Court will address the request to appoint co-lead counsel in a forthcoming order.

  As discussed below, the Motion to Consolidate is GRANTED.

  I.      BACKGROUND

          On February 29, 2024, Plaintiff filed the instant Action on behalf of itself and a class of

  others similarly situated. See generally (“Compl.”) (ECF No. 1). Plaintiff is a yacht seller that

  listed a yacht on one or more Multiple Listing Services (“MLS”). Id. ¶ 1. Defendants consist of

  various boating brokerages and yacht broker associations. Id. ¶¶ 23–37. Plaintiff alleges that




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   Plaintiffs state that at this point, most Defendants have been served. Mot. at 14. Defendants
  Permira Advisers LLC, Boats Group LLC, Yacht Broker’s Association of America, Inc., and
  Sharon & Jack Malatich, LLC do not oppose consolidation. Id. Counsel for Northrop & Johnson
  and MarineMax, and counsel for United Yacht Sales LLC could not be reached. Id.
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  Defendants conspired to impose and enforce an anti-competitive rule that requires all brokers to

  make a non-negotiable offer of buyer-broker compensation (the “Buyer-Broker Commission

  Rule”) when listing a vessel on an MLS. Id. ¶ 2. Plaintiff further alleges that Defendants, through

  their control of the MLSs, collectively require brokers to follow the Buyer-Broker Commission

  Rule, thereby forcing yacht sellers to bear an inflated cost that would, in a competitive market, be

  borne by the buyer. Id. ¶¶ 7–10. Thus, Plaintiff asserts one claim against Defendants, for violation

  of the Sherman Act, 15 U.S.C. § 1. Id. ¶¶ 139–146.

         Plaintiffs now seek to consolidate this action with Snell v. Allied Marine, Inc., Case No.

  0:24-cv-60461-KMM (filed March 22, 2024) (the “Snell Action”) and Magna Charter, LLC v.

  Boats Group, LLC, Case No. 24-cv-21146-KMM (filed March 26, 2024) (the “Magna Charter

  Action”), currently pending before this Court. See generally Mot. At the time the instant Motion

  was filed, the Magna Charter Action had not been transferred to this Court yet. Plaintiffs explain

  that once the Magna Charter Action was transferred, consolidation of that case would also be

  appropriate. Id. at 1.

  II.    LEGAL STANDARD

         Rule 42(a) of the Federal Rules of Civil Procedure provides district courts the power to

  consolidate actions that “involve a common question of law or fact . . . .” Fed. R. Civ. P. 42(a).

  Rule 42(a) “codifies a district court’s inherent managerial power to control the disposition of the

  causes on its docket with economy of time and effort for itself, counsel, and for litigants.” Young

  v. City of Augusta, 59 F.3d 1160, 1168 (11th Cir. 1995) (citation and internal quotation marks

  omitted). The Rule “vests a purely discretionary power in the district court.” Id. (citation and

  internal quotation marks omitted). District court judges in the Eleventh Circuit “have been urged

  to make good use of Rule 42(a) . . . in order to expedite the trial and eliminate unnecessary



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  repetition and confusion.” Id. (citation and internal quotation marks omitted). In exercising its

  discretionary power to consolidate, the court should determine:

         [W]hether the specific risks of prejudice and possible confusion [are] overborne by
         the risk of inconsistent adjudications of common factual and legal issues, the burden
         on parties, witnesses and available judicial resources posed by multiple lawsuits,
         the length of time required to conclude multiple suits as against a single one, and
         the relative expense to all concerned of the single-trial, multiple-trial alternatives.

  Hendrix v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1485 (11th Cir. 1985) (citation and internal

  quotation marks omitted).

  III.   DISCUSSION

         The Court finds that consolidation of the instant Action, the Snell Action, and the Magna

  Charter Action is warranted. All three cases involve common questions of law or fact: each Action

  arises out of Defendants’ alleged enforcement of an anti-competitive rule that requires pre-owned

  boat and yacht sellers to pay a brokerage fee to the buyer’s broker, as well as a total aggregate

  commission fee that is inflated as a condition for selling their boats or yachts. The cases also share

  some of the same Defendants. Finally, the plaintiffs in all three cases make a claim for violation

  of the Sherman Act. Thus, consolidation would streamline judicial resources and greatly minimize

  the risk of confusion. Based on considerations of efficiency, judicial economy, the risk of

  inconsistent rulings on common questions, the burden on the parties and the court, and the relative

  expense of proceeding separately versus together, consolidation of these actions would plainly

  streamline these proceedings and eliminate unnecessary repetition and confusion. Litigating the

  main issues in these three cases in a single proceeding is more sensible than to do so piecemeal in

  multiple actions.

         Relatedly, Defendants Northrop & Johnson Yachts-Ships LLC, Galati Yacht Sales, LLC,

  MarineMax, Inc., United Yacht Sales, LLC, HYM Yacht Sales, Inc., Permira Advisers LLC, and



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  Boats Group, LLC submitted an Unopposed Motion to Adjourn or Extend Deadlines to Respond

  to the Complaint. (ECF No. 37). Therein, certain Defendants in the instant Action request that

  the Court adjourn deadlines for all Defendants to move to dismiss or otherwise respond to the

  Complaints in all three Actions. Id. at 3. Defendants argue that upon consolidation of the three

  cases, Plaintiffs may seek to file an amended consolidated complaint, so it would be impracticable

  and inefficient for Defendants to respond to the current complaints in the three Actions. Id.

  IV.      CONCLUSION

           Accordingly, UPON CONSIDERATION of the Motion to Consolidate, the pertinent

  portions of the record, and being otherwise fully advised in the premises, it is hereby ORDERED

  AND ADJUDGED that the Motion to Consolidate (ECF No. 20) is GRANTED. It is FURTHER

  ORDERED AND ADJUDGED that:

        1. The above-captioned action, Case No. 1:24-CV-20805-KMM, as well as Case No. 0:24-

           CV-60461-KMM and Case No. 1:24-CV-21146-KMM are hereby consolidated into the

           lower-numbered action (hereinafter, the “Consolidated Action”) for all purposes, pursuant

           to Rule 42(a) of the Federal Rules of Civil Procedure;

        2. From this point on, all pleadings and motions shall be filed in Case No. 1:24-CV-20805-

           KMM. The operative pleadings against Defendants will be the claims asserted in the

           instant Complaint;

        3. The Unopposed Motion to Adjourn or Extend Deadlines to Respond to the Complaint (ECF

           No. 37) is GRANTED IN PART. All deadlines to respond to the complaints in Case No.

           1:24-CV-20805-KMM, Case No. 0:24-CV-60461-KMM, and Case No. 1:24-CV-21146-

           KMM are TERMINATED.




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     4. The Parties shall submit a joint scheduling report that complies with the requirements set

         forth in the Court’s Pretrial Order (ECF No. 4) on or before May 31, 2024. The joint

         scheduling report should include whether the Parties intend on filing a consolidated

         complaint and any related proposed deadlines;

     5. The Clerk shall administratively CLOSE Case No. 0:24-CV-60461-KMM and Case No.

         1:24-CV-21146-KMM;

     6. The Court DEFERS RULING on the Motion to Appoint Co-Lead Counsel (ECF No. 20).

         The Court will render a decision on the appointment of lead counsel in due course.

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         DONE AND ORDERED in Chambers at Miami, Florida, this _____ day of April, 2024.




                                                  K. MICHAEL MOORE
                                                  UNITED STATES DISTRICT JUDGE


  c: All counsel of record




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